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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                              )
 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )
                                              )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                            )
                                              )       Dated: January 10, 2023
        Defendant.                            )
                                              )

                     ORDER ON DEFENDANT’S MOTIONS TO SEAL
       On January 9, 2023, the Defendant filed motions to seal certain exhibits to her motion to
exclude expert testimony (ECF No 156), motion in limine (ECF No. 157) and proposed motion
for a hearing and sanctions (ECF No. 160). ECF Nos. 158 and 161. The proposed sealed
exhibits are the expert disclosures and reports for the Government’s experts, Steven I. Butler and
Joshua A. Johnston, and a Federal Bureau of Investigation interview summary. Defendant
neither identifies the information contained in these documents that she maintains is confidential,
nor explains why any such confidential information could not be redacted from the public
version of these exhibits. And so, the Court DENIES the Defendant’s motions to seal (ECF
Nos. 158 and 161).

       Because the exhibits at issue appear to be documents produced by the Government in this
litigation, the Court will give the Government the opportunity to lodge any objection to the
unsealing of these exhibits. The Government shall lodge any such objection in writing on or
before January 12, 2023.

       IT IS SO ORDERED.


                                                  s/ Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  United States District Judge
